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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                      CASE NO. 22-cv-60744


  ANDREA DARDY,

         Plaintiff,

   v.

  HEALTHCARE REVENUE RECOVERY GROUP, LLC.
  dba ARS ACCOUNT RESOLUTION SERVICES,
  INPHYNET SOUTH BROWARD, LLC,
  EQUIFAX INFORMATION SERVICES, LLC,
  EXPERIAN INFORMATION SOLUTIONS, INC.,
  and TRANSUNION, LLC.,

        Defendants.
  __________________________________/

                            NOTICE OF PROPOSED SETTLEMENT

          Plaintiffs hereby notifies the Court that Plaintiff, Andrea Dardy, and Defendant,

  Transunion, have settled this matter in principal and are awaiting the signature of those parties on

  the settlement documents. Plaintiff requests thirty (30) days to file the requisite dismissal notice.

                                                Debt Shield Law
                                                3440 Hollywood Blvd., Suite 415
                                                Hollywood, FL 33021
                                                Tel: 844-379-1112
                                                Fax: 305-503-9457
                                                service@debtshieldlaw.com
                                                joel@debtshieldlaw.com

                                                /s/Joel D. Lucoff ___________
                                                Joel D. Lucoff
                                                Fla. Bar No. 192163
Case 0:22-cv-60744-WPD Document 31 Entered on FLSD Docket 07/25/2022 Page 2 of 2


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  EQUIFAX INFORMATION SERVICES, LLC,
  EXPERIAN INFORMATION SOLUTIONS, INC.,
  and TRANSUNION, LLC,

        Defendants.
  __________________________________/

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 25, 2022 I filed the foregoing document with the Clerk
  of Court. I also certify that the foregoing document is being served this day on all counsel of
  record or pro se parties identified on the attached Service List in the manner specified, either via
  transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized
  manner for those counsel or parties who are not authorized to receive electronically Notices of
  Electronic Filing.

                                                /s/Joel D. Lucoff ___________
                                                Joel D. Lucoff

  All Defendants

  Via transmission of Notices of Electronic Filing generated by CM/ECF
